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                                   STATEMENT OF FACTS

        Your affiant, David F. Shumway, is a Special Agent with the Federal Bureau of
Investigation (“FBI”) assigned to the Boise, Idaho Resident Agency and have been assigned to
work with the FBI Boise National Security Squad and the Southern Idaho Joint Terrorism Task
Force. In my duties as a special agent, I am assigned to Domestic Terrorism investigations to
proactively investigate and counter the activities of persons or organizations who, without foreign
direction, conspire or engage in criminal activity to effect political or social change in the United
States and its territories. Currently, I am tasked with investigating criminal activity in and around
the Capitol grounds on January 6, 2021. As a Special Agent with the FBI, I am authorized by law
or by a Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
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President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On January 8, 2021, the FBI received a tip stating that Pam Hemphill, a resident of Boise,
Idaho, planned to and did in fact travel to Washington, D.C. for January 6, 2021. The tipster, and
several others, obtained this information from Facebook posts and other forms of social media,
including from Hemphill’s Facebook account.

      On January 16, 2021, a tipster sent the FBI a screenshot of Hemphill’s Facebook page
dated December 28, 2020. The Facebook post, seen below, encouraged others to go to
Washington, D.C. for January 6th, saying “its a WAR!”




       The FBI received another tip that included a Facebook post from Hemphill’s Facebook
page, provided below, that showed a photo of Hemphill holding a firearm with the statement:
“Happy New Year! On my way to Washington D. C. January 6th!”
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        The FBI also received information from Facebook, Inc. showing that “Pam Hemphill”
registered a Facebook account on April 25, 2020. The information from Facebook, Inc. also shows
that this account is connected with a telephone number that is also associated with Pamela Anne
Hemphill in official records I have reviewed.

        The FBI captured two videos of events that took place in Washington D.C. on January 5,
2021 found on a YouTube channel titled “Pam Hemphill,” before the videos were taken down. I
reviewed these videos, and in one video entitled “Alex Jones Co Host at Washington DC,” which
was posted on January 6, 2021, Hemphill filmed the crowd at an event hosted by the far-right radio
personality on the evening of January 5. In that video, Hemphill can be heard repeatedly
identifying herself to members of the crowd. She also stated, “I think everybody would be happy
if uh, [unintelligible] got inside the Capitol and told them how they really felt. Cuz they’re sick
and tired of being sick and tired.” In the same video, Hemphill can be heard telling one man in
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the crowd, “Let’s do this; let’s go to the Capitol. We did it in Boise.”1 In response to a comment
by the same man, Hemphill said, “Oh yeah. We broke the glass door. Watch the video. I’m with
People’s Rights. Ammon Bundy.” Hemphill closed the conversation saying, “Keep an eye on me
tomorrow.” Later in the video, Hemphill said, “and I’m going in the Capitol,” a statement she
repeated and then advised others in the crowd to “occupy the Capitol.” Hemphill ended the video
saying, “Don’t worry, Trump’s coming in office.”

       The FBI interviewed an individual who knows Hemphill from Boise, Idaho who indicated
that Hemphill posted videos on her Facebook account stating that she was inside the Capitol on
January 6, 2021.

         The FBI interviewed another individual who knows Hemphill personally who provided a
video to your affiant that the individual obtained from Twitter and that the individual asserted was
filmed by Hemphill. Hemphill can be heard speaking on the video. The video shows law
enforcement officers on Capitol Grounds on January 6, 2021, just outside of the Capitol Building,
trying to hold back a surging crowd of rioters. I have reviewed the video, and the voice on this
video is the same as the voice narrating the “Alex Jones Co Host at Washington DC” video. A
still shot of this video is seen below:




1
 I believe this to be a reference to the storming and occupying of the Idaho state capitol building by
protestors of COVID-19 restrictions in August 2020, which involved Ammon Bundy and resulted in the
shattering of a glass door in the statehouse, as protestors pushed past law enforcement officers to enter the
building. I am aware from reviewing reports of local law enforcement in Boise, local media reports, and
Hemphill’s own statements and actions in other videos that I have reviewed that Pamela Anne Hemphill
was involved in the breach of the Idaho Capitol.
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       The same individual also provided the FBI a photograph of the Capitol Rotunda that the
individual stated Hemphill took from inside the Capitol, which is shown below:




         Video surveillance footage obtained from the Capitol Police shows Hemphill, holding a
selfie stick with a phone attached, enter the East side of the Capitol Building with a group of rioters
at or around 3 pm on January 6, 2021, as seen in the still shot below:
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In this video, Hemphill can be seen wearing a dark coat with a hood, a blue baseball cap and a
pink scarf.

        Additional video footage obtained from the Capitol Police shows Hemphill in the Rotunda
of the Capitol Building , as seen in the still shot below:
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In this video, Hemphill is still holding up a selfie stick with attached phone.

       Further video footage obtained from the Capitol Police shows Hemphill being taken out of
the Capitol Building by a law enforcement officer, as seen in the still shot below:




       The FBI discovered a video on the “Pam Hemphill” YouTube channel entitled “Pam Yells
Don't Harm Are House.” I have reviewed this video, which was posted on January 8, 2021, and it
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shows rioters outside the broken glass doors of the Capitol Building yelling at law enforcement
officers who are standing inside the doors. A still shot of a protestor in front of the Capitol doors
from Hemphill’s video is shown below:




This video has since been removed from YouTube.

        On January 6, 2021, a post from the Facebook account “TK Marie,” who has been
identified as a friend of Hemphill’s by individuals interviewed by the FBI, shown below, stated,

       Pam is ok!! I am on the phone with her. She was inside the Capitol and they escorted
       her out in one of the secure tunnels.
       She got lost and is walking through DC by herself. I will stay on the phone with her
       until she gets to her hotel.
       She has some awesome video from inside the capitol to download for us. Wait until
       you see.

[Emoji omitted].
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        The above Facebook post was provided to the FBI along with the photos of Hemphill
attached. The person who provided the post and photos identified the woman in the photos as
Hemphill. In these photos, Hemphill is wearing the blue baseball cap, dark coat, and pink scarf
she is seen wearing in the video surveillance footage from the Capitol Police.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Pamela Anne Hemphill violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that Hemphill violated 40
U.S.C. § 5104(e)(2)(D) &(G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
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Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                      _________________________________
                                                      DAVID F. SHUMWAY
                                                      Special Agent
                                                      Federal Bureau of Investigation

Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3), August 2, 2021.
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                                                      ___________________________________
                                                      ZIA M. FARUQUI
                                                      U.S. MAGISTRATE JUDGE
